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 8                                      UNITED STATES DISTRICT COURT

 9                            FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    DOREL ARGUILEZ,                                     No. 2:24-cv-1730 DJC CKD P
12                         Plaintiff,
13              v.                                        ORDER
14    D. CUEVAS, et al.,
15                         Defendants.
16

17             Plaintiff is a state prisoner proceeding pro se and seeking relief pursuant to 42 U.S.C. §

18   1983. On September 3, 2024, the court screened plaintiff’s complaint as the court is required to

19   do under 28 U.S.C. § 1915A(a). The court found that plaintiff may proceed on the following

20   claims:

21             1. A claim for excessive use of force arising under the Eighth Amendment against

22   defendants Parker and Williams. ECF No. 1 at 7.

23             2. A claim for denial of adequate medical also arising under the Eighth Amendment

24   against defendants Parker and Williams. Id.

25             The court gave plaintiff two options: proceed on the claims identified above or file an

26   amended complaint in an attempt to cure deficiencies with respect to the other claims. Plaintiff

27   was informed that if chooses to proceed on the claims described above, the court will construe

28   this as a request to voluntarily dismiss the additional claims and defendants pursuant to Rule
                                                          1
     Case 2:24-cv-01730-DJC-CKD Document 18 Filed 11/08/24 Page 2 of 2


 1   41(a)(1)(i) of the Federal Rules of Civil Procedure. Plaintiff has indicated that he wishes to

 2   proceed on the claims identified above.

 3          In accordance with the above, IT IS HEREBY ORDERED that:

 4          1. This action proceeds on the following claims:

 5                  A. A claim for excessive use of force arising under the Eighth Amendment against

 6                  defendants Parker and Williams. ECF No. 1 at 7.

 7                  B. A claim for denial of adequate medical also arising under the Eighth

 8                  Amendment against defendants Parker and Williams. Id.

 9          2. All other claims and defendants are voluntarily dismissed pursuant to Rule 41(a)(l)(i).

10          3. The findings and recommendations filed October 8, 2024 are vacated.

11   Dated: 11/08/24
                                                      _____________________________________
12
                                                      CAROLYN K. DELANEY
13                                                    UNITED STATES MAGISTRATE JUDGE

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